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            United States Court of Appeals
                 for the Fifth Circuit
                                     ___________

                                      No. 23-10319
                                     ___________

William T. Mock; Christopher Lewis; Firearms Policy
Coalition, Incorporated, a nonprofit corporation; Maxim
Defense Industries, L.L.C.,

                                                                   Plaintiffs—Appellants,

                                           versus

Merrick Garland, U.S. Attorney General, in his official capacity as
Attorney General of the United States; United States Department
of Justice; Bureau of Alcohol, Tobacco, Firearms, and
Explosives; Steven Dettelbach, in his official capacity as the
Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives,

                                            Defendants—Appellees.
                   ______________________________

                   Appeal from the United States District Court
                       for the Northern District of Texas
                             USDC No. 4:23-CV-95
                   ______________________________

                            UNPUBLISHED ORDER

Before Haynes,1 Engelhardt, and Oldham, Circuit Judges.



        1
          Judge Haynes concurs only in part: she concurs in the order of an expedited appeal.
With respect to the request for a preliminary injunction pending appeal, as a member of the
motions panel, she would grant an administrative stay to the plaintiffs in this case as to the
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Per Curiam:
         IT IS ORDERED that the appeal is EXPEDITED to the next
available Oral Argument Calendar.
         IT IS FURTHER ORDERED that Appellants’ Opposed Motion
For a Preliminary Injunction Pending Appeal is GRANTED as to the
Plaintiffs in this case. See Fed. R. App. P. 8; Nken v. Holder, 556 U.S.
418 (2009).




challenged Final Rule for a brief period of time and defer the question of the injunction pending
appeal to the oral argument merits panel which receives this case.




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